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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

v. $ Case No.: 1:24-cr-475 (TNM)
EARL JORDAN, and
CHRISTOPHER JORDAN,
Defendants.
ORDER

Pursuant to the motion filed by the United States, ECF 29, it is hereby ordered that the

Motion to Dismiss the Indictment pursuant to Rule 48(a) with prejudice is GRANTED.

SO ORDERED this | Satay of tewaey 2025.
VOR N. MCFADDEN

United States District Court Judge

